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Todd Barfield,

The following message was sent from the Appraisal
Logistics web portal:

Todd,

Please see below and advise your ETA.

 

 

Please ask the appraiser if there is any way possible
they could have the appraisal uploaded on the
morning of the 3rd? closing is set for the 7th and the
appraisal is the only outstanding condition on the
file.

Sender:
Nancy Lee
(866) 991-2574 x227

Order Information:

Client: Nations Reliable Lending, LLC
Order #1825727

Zane Vern Akins

601 Willis Ave

Wildwood, FL 34785

Reply To Message

Please do not reply to this message, as this is an unattended
mailbox.

MM an NVI NH

 
